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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

      Plaintiff,
v.                                                 ORDER
                                                   Crim. No. 10‐69 (11) (MJD)
Ivan Aguirre,

      Defendant.
_____________________________________________________________________

      This matter is before the Court on Defendant’s pro se letter/motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2).

      On July 2, 2010, Defendant pled guilty to Count 1 of the Superseding

Indictment which charged conspiracy to distribute and possess with intent to

distribute 5 kilograms or more of cocaine, 500 grams or more of

methamphetamine, 100 kilograms or more of marijuana and 1000 tablets (250

grams) of MDMA (“ecstasy”) in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A),

(b)(1)(C) and 846.

      On December 16, 2010, Defendant appeared before the Court for

sentencing. The Court found that the total offense level was 35 and that

Defendant’s criminal history category was VI, resulting in a guideline range of

292‐365 months. The Court varied downward from the applicable range and


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sentenced Defendant to a term of imprisonment of 200 months.

      Defendant seeks to file a motion for a sentence reduction based on

Amendment 782 to the Sentencing Guidelines which lowered the drug quantity

base offense levels applicable to certain drug offenses. The Court finds, however,

that Defendant is not eligible for a sentence reduction as he was sentenced to a

term of imprisonment that is below the amended guideline range for Count 1,

which is 262‐327 months.

      IT IS HEREBY ORDERED that Defendant’s Letter/Motion for Reduction of

Sentence is DENIED.

Date: December 9, 2015



                                s/ Michael J. Davis
                                Michael J. Davis
                                United States District Court




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